        Case 1:14-cr-00068-LGS               Document 345   Filed 06/12/19     Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X

UNITED STATES OF AMERICA,                                    14 Cr. 68 (KBF)

                                   Plaintiff,                DECLARATION OF
                                                             ANDREW J SAYLER
-v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

----------------------------------------------------X

        I, Andrew Sayler, pursuant to 28 U.S.C. § 1746, hereby affirm under penalty of perjury:

1. I am a computer scientist specializing in information security, computer systems, and

technology policy. I have worked or studied in the field of computer security for over eight

years. I hold both a PhD and MS in Computer Science and a Bachelors of Science in Electrical

Engineering with a minor in Computer Science. My resume is attached. Exhibit 1.

2. I am familiar with network security analysis, including the analysis of network traffic captures

such as pcap files. I am also familiar with Internet architecture and the operation of computer

networks.

3. I examined pen register and trap and trace data provided to me as pcap files by Paul Grant,

attorney, who advised me that he represents Ross Ulbricht in this case.

4. The pcap files appears to contain wide-area network (WAN) traffic involving communications

between a cable modem and other servers on the Internet. These files show bidirectional traffic,

but always involve a Comcast IP address (67.169.90.28) as one end of each exchange. Since the


                                                        1
       Case 1:14-cr-00068-LGS           Document 345         Filed 06/12/19      Page 2 of 9




traffic all appears to be between a modem and other systems on the Internet, it could have been

collected by Comcast outside the home without needing to break any WiFi encryption or

otherwise monitor the home’s local-area network.

5. None of the pcap files provided to me appear to contain local-area network (LAN) or WiFi

traffic internal to the house where the modem was located.

6. None of the pcap files provided appear to identify any of the MAC addresses internal to the

home network or WiFi. They only show the external MAC address of the modem itself, plus the

MAC addresses of other Internet systems, most likely routers on Comcast's network. All of the

internal MAC addresses (for devices on the home network) would have been stripped from this

traffic by the home’s router or modem before the traffic entered Comcast’s network where it

appears these data were collected.

7. There is no way to know who within the house originated the network traffic I examined from

the traffic alone. It appears to be an amalgamation of all the Internet traffic sent or received by

every active device connected to the home’s network at the time of collection. There is no way to

know if this traffic is limited to a single individual or is from multiple individuals absent

additional information about who and what devices were present on the network at the time of its

collection.

8.




                                                  2
       Case 1:14-cr-00068-LGS         Document 345        Filed 06/12/19      Page 3 of 9




9. I have also examined additional pen register and trap and trace data that Paul Grant provided

to me in a csv (comma-separated value) format. Those csv files appear to contain a processed

version of the same pcap data previously examined. As such, they do not present any significant

new information beyond that provided by the pcap files and lead to the same conclusions.

10.




11.




12.




13. None of the data I examined show any of the described LAN-side data collection, nor did it

show the identification of any MAC addresses of any devices on the LAN network. I have seen

no data which shows that any MAC addresses were collected by the government’s efforts




                                                3
       Case 1:14-cr-00068-LGS          Document 345         Filed 06/12/19      Page 4 of 9




                           It is not clear from the data I have been provided how the FBI

obtained the MAC address of Ulbricht’s laptop.

14.




15. Based on my education and experience, I disagree with the             statement regarding the

uniqueness of a MAC address and, therefore, with the value of a MAC addresses for the purpose

of identifying a device on a network. I know from my own study and work that changing a MAC

address is a trivial operation on most systems. I have published an article on that subject. See

Andy Sayler, Network Anonymity Through "MAC Swapping". (An article appearing in 2600: The

Hacker Quarterly, Volume 28, Issue 3, Autumn 2011. Middle Island, NY.)

16. I understand that when Ulbricht’s laptop was seized, it was running Ubuntu Linux. Tr 856 -

858. On Ubuntu Linux it would have been a trivial step to change the MAC address of the

laptop. Ulbricht could have collected other MAC addresses on any network he used, and then

substituted other MAC addresses for his own. Similarly, other users on networks used by

Ulbricht could have collected the MAC address from Ulbricht’s computer, and used his MAC

address as their own.                           a MAC address is not a robust, unique identifier

of a device on a network. The fact that MAC addresses can be easily changed is widely known.

17.




                                                 4
      Case 1:14-cr-00068-LGS   Document 345   Filed 06/12/19   Page 5 of 9




18.




19.




                                      5
      Case 1:14-cr-00068-LGS   Document 345   Filed 06/12/19   Page 6 of 9




21.




22.




                                      6
       Case 1:14-cr-00068-LGS           Document 345         Filed 06/12/19     Page 7 of 9




                                                      I have seen no basis for the          claim

that the FBI had collected data that showed anything communicated to or from the SUBJECT

COMPUTER.

23.

                                                              I have seen no data resulting from

pen register or trap and trace data collection that supports the         claim to have uniquely

identified Ulbricht’s computer or any other computer present on the home’s network.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this 16th day of May, 2019.



                                               Andrew Sayler, PhD




                                                  7
            Case 1:14-cr-00068-LGS        Document 345         Filed 06/12/19     Page 8 of 9
                                                                          EXHIBIT 1 TO SAYLER
                                           Andy Sayler                    DECLARATION
                                         www.andysayler.com
                                        andy.sayler@gmail.com


Education
     University of Colorado, ​Boulder, CO                                   GPA:​ 3.99
     PhD in Computer Science - Computer Systems Research Group              Spring 2016
     Areas of Research:​ Security and Privacy, Operating Systems, Networking
     Tufts University​,​ ​Medford, MA                                           GPA:​ 3.59
     BS in Electrical Engineering, Minor in Computer Science                    May 2011
     Honors: ​Magna Cum Laude – Engineering Dean’s List

Employment
     Twitter, Inc​ - Boulder, CO                                         September 2016 – Present
     Senior Security Engineer - Enterprise Security Team
     ● Tech lead for the Infrastructure Security Automation and Tooling Group
     ● Provided security consulting guidance and developed range of security measurement tools
     University of Colorado​ - Boulder, CO                               August 2011 – August 2016
     Teaching and Graduate Assistant - Dept. of Computer Science
     ● Designed and administered a variety of educational technology systems for 1000+ CS students
     ● Taught Computer Systems, Operating Systems, and Development Methods and Tools courses
     Center for Democracy and Technology ​- Washington, DC               May 2015 – July 2015
     Policy Technologist - Hatfield Summer Scholar
     ● Represented security researchers in triannual 17 U.S.C. §1201 (DMCA) proceeding
     ● Led CDT efforts to reform Wassenaar export control rules related to encryption and security tools
     SolidFire, Inc -​ Boulder CO                                        May 2013 - May 2014
     Development Team Intern
     ● Created virtualization-based test and prototyping environment for SSD-backed SAN product
     Symplified, Inc -​ Boulder CO                                   June 2012 - August 2012
     Development Team Intern
     ● Implemented reverse-proxy-based Kerberos and NTLM authentication systems
     WMFO 91.5 FM – Tufts Freeform Radio​ - Medford, MA             December 2008 – May 2011
     General Manager
     ● Oversaw 15 member Executive Board managing a 200 staff-member community radio station
     Charles Stark Draper Laboratory​ - Cambridge, MA                  June 2010 – August 2010
     Navigation Engineering Intern - Draper Lab Scholar Program Member
     ● Designed and implemented multi-node distributed ranging navigation simulation
     MIT Lincoln Laboratory​ - Lexington, MA                           June 2009 – August 2009
     Radar Engineering Intern
     ● Designed, implemented, and tested network-centric radar (ROSA) software test suite
     Special Application Robotics​ - Loveland, CO                     May 2008 – August 2008
     Controls Engineering Intern
     ● Designed, built, and programmed PIC embedded system brushless DC motor control boards
                Case 1:14-cr-00068-LGS        Document 345        Filed 06/12/19     Page 9 of 9


Skills
         Computer: ​Linux, Networking, Security, Firewalls, Virtualization, Systems Administration
         Programming:​ Python, C, C++, Assembly, BASH, LLVM, MATLAB
         Other: ​DevOps, Leadership, Public Policy, Agile Development, Free Software

Awards
         TPRC 44 Student Paper Award - First Place                                                 2016
         Hatfield Summer Scholarship for Public Policy and Service                                 2015
         CU “Best Should Teach” Silver Award for Service as CU CS Lead TA                          2014
         CU CS Outstanding Teaching Assistant for TAing Operating Systems Course                   2013
         Tufts Alumni Association Senior ​Award for Academics and Leadership                       2011
         IEEE TePRA Student Robotics Competition - Second Place                                    2009
         Tufts IEEE EE14 Microcontroller Design Project - First Place                              2008
         College Board National AP Scholar                                                         2007

Involvement
         ACM Member                                                                      2013 - Present
         USENIX Member                                                                   2013 - Present
         EFF Supporter                                                                   2012 - Present
         IEEE Member                                                                     2008 – Present
         CU IT Student Advisory Board Co-chair                                           2014 - 2016
         CU Hacking Club Coordinator and Hacking Team Coach                              2012 - 2016
         Tufts Formula Hybrid Racing Team – Lead Electrical Engineer                     2009 – 2010

Selected Publications
         Andy Sayler, et. al. ​Tutamen: A Next-Generation Secret Storage Platform​. Symposium on Cloud
         Computing, 2016. Santa Clara, CA.
         Andy Sayler. ​Categorizing, Analyzing, and Managing Third Party Trust​. TPRC 44, 2016. Arlington, VA.
         Andy Sayler. ​Securing Secrets and Managing Trust in Modern Computing Applications​. PhD
         Dissertation. University of Colorado, Dept. of Computer Science. 2016. Boulder, CO.
         Andy Sayler, Dirk Grunwald. ​Custos: Increasing Security with Secret Storage as a Service.​ Proceedings
         of the 2nd Conference on Timely Results in Operating Systems, 2014. Broomfield, CO.
         Andy Sayler, Dirk Grunwald, et. al. ​Supporting CS Education via Virtualization and Packages: Tools
         for Successfully Accommodating “Bring Your Own Device” at Scale​. SIGCSE, 2014. Atlanta, GA.
         Andy Sayler, Eric Keller, and Dirk Grunwald. ​Jobber: Automating Inter-Tenant Trust in The Cloud.​
         Presented at the 5th USENIX Workshop on Hot Topics in Cloud Computing, 2013. San Jose, CA.
         Andy Sayler. ​Network Anonymity Through "MAC Swapping".​ An article in 2600: The Hacker Quarterly,
         Volume 28, Issue 3, Autumn 2011. Middle Island, NY.

Additional Information
         Personal Website:                   https://www.andysayler.com
         Github Projects:                    https://github.com/asayler
         LinkedIn Profile:                   https://www.linkedin.com/pub/andrew-sayler/20/8/79a
         Google Scholar:                     https://scholar.google.com/citations?user=n7fSFlIAAAAJ&hl
